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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

In re:                                                  CASE NO.: 21-17841-BKC-RAM
                                                        Chapter 7
JOHN ALEJANDRO CASTRO ORTIZ
SSN: XXX-XX-9721

                 Debtor.               /

   TRUSTEE’S MOTION TO COMPEL TURNOVER OF NON-EXEMPT PROPERTY

         Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of John Alejandro

Castro Ortiz (the “Trustee”), through counsel and pursuant to 11 U.S.C. §§ 541 and 542

of the Bankruptcy Code, files this Motion to Compel Turnover of Non-Exempt Personal

Property (the “Motion”), and in support thereof, states as follows:

         1.    This case commenced with the filing of a voluntary Chapter 7 Petition by

the Debtor, John Alejandro Castro Ortiz (the “Debtor”), on August 12, 2021 (the “Petition

Date”). Shortly thereafter, Joel L. Tabas was appointed Chapter 7 trustee of the Debtor’s

bankruptcy estate (the “Estate”).

The Scheduled Property

         2.    The Debtor’s Schedule “A/B” [ECF 1, pp. 10-14] lists the Debtor’s interest

in personal property with an aggregate scheduled value of $410.00 (the “Scheduled

Property”).

         3.    The Trustee asserts that the Scheduled Property is undervalued.       For

example, the Debtor lists a Citibank checking account ending in x3851 with a scheduled
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value of $40.00, but the bank account had an actual balance of $4,801.97 at the beginning

of the Petition Date and $1,015.97 at the end of the Petition Date.1

The Unscheduled Property

        4.         Notably absent from the Debtor’s schedules is any interest in real property,

vehicles, household goods, furnishings, electronics, or jewelry.

        5.         However, on July 28, 2021, just two weeks prior to the Petition Date, the

Debtor executed a Family Law Financial Affidavit (the “Affidavit”) under the penalty of

perjury in which he attested that he owned $200,000 in real estate, $20,000 in

automobiles and $30,000 in other personal property2. A true and correct copy of the

Affidavit dated July 28, 2021 and filed in Case No. 21-000269-FC-04 before the Circuit

Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida (the “Divorce

Proceeding”) is attached hereto as Exhibit “A.”

        6.         Further, pursuant to the terms of the Marital Settlement Agreement (the

“MSA”) entered in the Divorce Proceeding, the Debtor became the sole owner of the

aforementioned real property3, which is located at Calle 191A #11a-25 Torre 1, Apto

1704, Bogota, Colombia and Carrera 8C # 188-95 Interior 2 Apto 604, Bogota

(collectively, the “Real Property”), and the vehicle4, which is a 2009 BMW 320i vin #

WBAVG71059A402240 (the “Vehicle”), on August 5, 2021, the date the Final Judgment



         1 On the Petition Date, the Debtor withdrew $3,300.00 in cash from his bank account, which he has

failed to provide any explanation for, to date. The Trustee believes that the cash remained in the Debtor’s
possession and that the Debtor similarly undervalued this asset on his schedules (line 16 of the Debtor’s
Schedule “A/B” lists only $70.00 in cash).
        2   See Affidavit, Section III.A.

        3   See MSA, Article 3.6.

        4   See MSA, Article 3.7.



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of Dissolution of Marriage was entered in the Divorce proceeding. A true and correct

copy of the Marital Settlement Agreement is attached hereto as Exhibit “B.”

The Trustee Settlement Efforts, To Date

       7.     The Trustee, through counsel, has been attempting to negotiate a global

settlement with the Debtor for either the repurchase or turnover of the non-exempt portion

of the Scheduled Property, Real Property and Vehicle (collectively, the “Property”) since

November 18, 2021. However, the Debtor has refused to either repurchase of turnover

any of the Property.

Requested Relief

       8.     The Property is property of the estate pursuant to 11 U.S.C. § 541 and

subject to turnover pursuant to 11 U.S.C. § 542.

       9.     The Debtor’s failure to either repurchase or turnover the non-exempt portion

of the Personal Property to the Trustee is prejudicing the Trustee’s administration of this

Estate.

       10.    Accordingly, the Trustee seeks entry of an order compelling the Debtor to

either: (a) immediately enter into a stipulation with the Trustee for the valuation and

repurchase of the non-exempt portion of the Property; or (b) immediately turnover the

non-exempt portion of the Property to the Trustee.

       WHEREFORE, Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of

John Alejandro Castro Ortiz, respectfully requests this Honorable Court enter an Order:

(1) granting the instant Motion; and (2) granting such other and further relief as this Court

deems just and proper.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished

on December 30, 2021, to the parties who are currently on the list to receive e-mail

notice/service for this case, and via U.S. Mail to the following:

John Alejandro Castro Ortiz
850 NE 212 Terrace #7
Miami, FL 33179

                                           Respectfully submitted,

                                           /s/ Joshua D. Silver
                                           Joshua D. Silver
                                           Fla. Bar No. 100022
                                           Tabas & Soloff, P.A.
                                           Attorneys for Trustee, Joel L. Tabas
                                           25 S.E. 2nd Avenue, Suite 248
                                           Miami, Florida 33131
                                           Telephone: (305) 375-8171
                                           Email: jsilver@tabassoloff.com




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